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                                              U.S. Department of Justice

                                              Criminal Division

                                              950 Pennsylvania Avenue N.W., Room 1252
                                              Washington, DC 20530-0001
                                              Tel: (202) 307-1982


                                              May 15, 2024

VIA CM/ECF

Ms. Kelly L. Stephens, Clerk
Office of the Clerk
United States Court of Appeals for the Sixth Circuit
540 Potter Stewart U.S. Courthouse
100 E. Fifth Street
Cincinnati, Ohio 45202-7000

      Re:    United States v. Christopher Goins, No. 23-5848
             Oral argument held on March 21, 2024
             (Gibbons, Bush, Murphy, JJ.)

Dear Ms. Stephens,

      The United States writes in response to Christopher Goins’s letter regarding
United States v. Duarte, No. 22-50048, 2024 WL 2068016 (9th Cir. May 9, 2024),
in which a divided panel held that 18 U.S.C. § 922(g)(1) is unconstitutional as
applied to a defendant with five felony convictions. Duarte was wrongly decided,
and yesterday the government filed a petition for rehearing en banc.

       This Court should not follow Duarte, which conflicts with the Eighth Circuit’s
decision in United States v. Jackson, 69 F.4th 495 (8th Cir. 2023), the Tenth Circuit’s
decision in Vincent v. Garland, 80 F.4th 1197 (10th Cir. 2023), and the Eleventh
Circuit’s decision in United States v. Dubois, 94 F.4th 1284 (11th Cir. 2024). Gov’t
Br. 15; Gov’t 28(j) Letter (March 11, 2024); Gov’t En Banc Petition at 14-15, United
States v. Duarte, No. 22-50048 (9th Cir. May 14, 2024). Duarte is also in tension
with the Seventh Circuit’s recent decision in United States v. Gay, 98 F.4th 843, 846-
47 (7th Cir. 2024), and goes beyond the Third Circuit’s decision in Range v. Attorney
General, 69 F.4th 96 (3d Cir. 2023) (en banc). Gov’t En Banc Petition at 15-16.
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Duarte did not consider whether this Court’s pre-Bruen precedent remains binding,
and the panel’s analysis of Ninth Circuit precedent was erroneous for the reasons
explained in the dissent and in the government’s rehearing petition. See Duarte, 2024
WL 2068016, at *24-29 (M. Smith, J., dissenting); Gov’t En Banc Petition at 7-8.
And in reassessing Section 922(g)(1)’s constitutionality, the Duarte panel
erroneously concluded that there are any constitutional applications of Section
922(g)(1)—let alone that the Second Amendment prohibits the government from
disarming a person with Duarte’s criminal history. Id. at 8-18.

       As explained in the government’s brief, this Court should apply its pre-Bruen
precedent upholding Section 922(g)(1) under the Second Amendment. See Gov’t Br.
8-15. Should this Court reconsider the question of Section 922(g)(1)’s
constitutionality, Bruen’s text-and-history framework provides an additional reason
to reject Goins’s challenge to Section 922(g)(1). See Gov’t Br. 16-46.

      I would appreciate your assistance in distributing this letter to the panel.

                                                Respectfully submitted,

                                                /s/ Mahogane D. Reed
                                                MAHOGANE D. REED
                                                Counsel for the United States




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                      CERTIFICATE OF COMPLIANCE

      1.    This letter complies with the type-volume limitation of Federal Rule of

Appellate Procedure 28(j), because the body of this letter contains 349 words.

      2.    This letter complies with the typeface requirements of Federal Rule of

Appellate Procedure 32(a)(5) and the typestyle requirements of Rule 32(a)(6)

because this letter has been prepared in a proportionally spaced, 14-point serif

typeface using Times New Roman.


                                                    /s/ Mahogane D. Reed
                                                    Mahogane D. Reed



                         CERTIFICATE OF SERVICE

      I hereby certify that on May 15, 2024, I electronically filed the foregoing with

the Clerk of the Court of the U.S. Court of Appeals for the Sixth Circuit using the

appellate CM/ECF system. I certify that all participants in the case are registered

CM/ECF users, and that service will be accomplished by the appellate CM/ECF

system.


                                                    /s/ Mahogane D. Reed
                                                    Mahogane D. Reed
